There is but one point made in this case, and that is that the judgment finding the defendant guilty of pandering is not sustained by the evidence because it was not shown that the house in which the girl in question was placed as an inmate was at that time a house of prostitution. While it is true that the evidence as to the nature of the house bears largely upon the reputation of the house, nevertheless we are satisfied that even though it be hearsay, it is sufficient to warrant and support the finding of the jury as to the character of the establishment at the time the girl was placed there by the defendant.
That is the only point made worthy of discussion. The judgment and order denying defendant's motion for a new trial are therefore affirmed.
A petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on November 15, 1917.